Case 19-00149-SMT       Doc 22      Filed 03/27/19 Entered 03/27/19 00:44:47            Desc Main
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF COLUMBIA

      In RE:                     :
                                 :
      THOMAS K. STEVENSON        :     Case No.: 19-00149 SMT
                                 :
                                 :     Chapter 11
               Debtor            :
   **************************************************************

     STATEMENT UNDER PENALTY OF PERJURY CONCERNING
   PAYMENT ADVICES DUE PURSUANT TO 11 U.S.C. § 521 (a) (1)(B)(iv)

          I, Thomas K. Stephenson, state that I did not provide copies of all payment
   advices or other evidence of payment received within 60 days before the date of the filing
   of the petition, by me from any employer because:


          __x__ (1) I was not employed during the period immediately preceding the filing
   of the above referenced case.
          ______(2) I was employed during the period immediately preceding the filing of
   the above-referenced case but did not receive any payment advices or other evidence of
   payment from my employer within 60 days before the filing of the petition;


        ______ (3) I am self employed and do not receive any evidence of payment;



        __X____ (4) Other: I am retired and have been retired for many years

          I declare under penalty of perjury that I have read the foregoing statements and

   that they are true and accurate to the best of my knowledge, information and belief.

          Dated this 27th day of March, 2019.


                                   Thomas K. Stephenson
                                       Debtor
